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 5   Attorneys for Plaintiff

 6                         UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA
 7
 8                                                   Case No: 2:17-cv-03212-JJT

 9   FERNANDO GASTELUM,                                  NOTICE OF VOLUNTARY
                                                       DISMISSAL WITH PREJUDICE
10
                                        Plaintiff,
11
12                       vs.
13
     EAST SIDE HOTEL ASSOCIATES LP
14   dba The Camby
15
                                   Defendant(s).
16
           Plaintiff voluntarily dismisses the above cause with prejudice.
17
18         DATED this 5th day of December 2017

19                                     STROJNIK, P.C.

20
21                                     Peter Strojnik, 6464
                                       Attorneys for Plaintiff
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